 Case 4:16-cv-02511 Document 1-2 Filed in TXSD on 08/15/16 Page 1 of 14
                                                                       Service of Process
                                                                       Transmittal
                                                                       07/14/2016
                                                                       CT Log Number 529503250
TO:     L&R Home Office Intake Unit
        Allstate Insurance Company
        2775 Sanders Rd # A2W
        Northbrook, IL 60062-6110

RE:     Process Served in Texas
FOR:    ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY (Domestic State: IL)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                 REGINA MORRISON, Pltf. vs. ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY,
                                 Dft.
DOCUMENT(S) SERVED:              Citation, Original Petition and Request, Attachment(s)
COURT/AGENCY:                    333rd Judicial District Court Harris County, TX
                                 Case # 201645523
NATURE OF ACTION:                Insurance Litigation
ON WHOM PROCESS WAS SERVED:      C T Corporation System, Dallas, TX
DATE AND HOUR OF SERVICE:        By Process Server on 07/14/2016 at 14:05
JURISDICTION SERVED :            Texas
APPEARANCE OR ANSWER DUE:        By 10:00 a.m. on the Monday next following the expiration of 20 days after service
ATTORNEY(S) / SENDER(S):         Patrick C. McGinnis
                                 Merlin Law Group
                                 515 Post Oak Blvd
                                 Suite 750
                                 Houston, TX 77027
                                 713-626-8880
ACTION ITEMS:                    CT has retained the current log, Retain Date: 07/15/2016, Expected Purge Date:
                                 07/20/2016

                                 Image SOP

                                 Email Notification, Jessica Tortorello jessica.tortorello@allstate.com
                                 Email Notification, Aspen Sprague aspra@allstate.com

SIGNED:                          C T Corporation System
ADDRESS:                         1999 Bryan St Ste 900
                                 Dallas, TX 75201-3140
TELEPHONE:                       214-932-3601




                                                                       Page 1 of 1 / MC
                                                                       Information displayed on this transmittal is for CT
                                                                       Corporation's record keeping purposes only and is provided to
                                                                       the recipient for quick reference. This information does not
                                                                       constitute a legal opinion as to the nature of action, the
                                                                       amount of damages, the answer date, or any information
                                                                       contained in the documents themselves. Recipient is
                                                                       responsible for interpreting said documents and for taking
                                                                       appropriate action. Signatures on certified mail receipts

                                         EXHIBIT B
                                                                       confirm receipt of package only, not contents.
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                                       CAUSE NO. 201645523

                                       RECEIPT NO.                        0.00          ATY
                                                                                    TR # 73264847
PLAINTIFF: MORRISON, REGINA                                            In The 333rd
        VS.                                                            Judicial District Court
DEFENDANT: ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY             of Harris County, Texas
                                                                       333RD DISTRICT COURT
                                                                       Houston, TX
                                             CITATION
THE STATE OF TEXAS
County of Harris


TO: ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY (A DOMESTIC/
    FOREIGN INSURANCE COMPANY) BY SERVING ITS REGISTERED AGENT
    CT CORPORATION SYSTEM
    1999 BRYAN STREET SUITE 900 DALLAS TX 75201 - 3136
    Attached is a copy of PLAINTIFF'S ORIGINAL PETITION AND REOUEST FOR DISCLOSURE

This instrument was filed on the 8th day of July. 2016, in the above cited cause number
and court. The instrument attached describes the claim against you.

     YOU HAVE BEEN SUED, You may employ an attorney. If you or your attorney do not file a
written answer with the District Clerk who issued this citation by 10:00 a.m on the Monday
next following the expiration of 20 days after you were served this citation and petition,
a default judgment may be taken against you.
TO OFFICER SERVING:
      This citation was issued on 8th day of July, 2016, under my hand and
seal of said Court.


;sated at reauest of:                                CHRIS DAN/EL, District Clerk
MCGINNIS, PATRICK CONNELL                            Harris County, Texas
515 POST OAK BLVD SUITE 750                          201 Caroline, Houston, Texas 77002
HOUSTON, TX 77027                                    (P.O. Box 4651, Houston, Texas 77210)
Tel: (713) 626-8880
Bar No.: 13631900                              Generated By: CUERO, NELSON 7MM//10428688

                                  OFFICER/AUTHORIZED PERSON RETURN
Came to hand at         o'clock     .M., OA the          day of

Executed at (address)                                                                         in

                        County at         o'clock       .M., on the        day of

         by delivering to                                               defendant, in person, a

true copy of this Citation together with the accompanying             copy(ies) ofi the Petition

attached thereto and I endorsed on said copy of the Citation the date of delivery.
To certify which I affix my hand officially this       day of

FEE: $




             Affiant

On this day,                                            , known to me to be the person whose
signature appears on the foregoing return, personally appeared. After being by me duly sworn,
he/she stated that this citation was executed by him/her in the exact manner recited on the
return.

SWORN TO AND SUBSCRIBED BEFORE ME, on this           day of


                                                                        Notary Public



                                         /3264847*
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                                                                                                        718/2016 1:27:44 PM
                                                                                    Chris Daniel - Diets Clerk Harris Candy
                                                                                                     Envelope No. 11537592
                               2016-455237Court: 333                                                       By: Nelson Cuero
                                                                                                  Red: 7/9/2016 127:44 PM

                               .     CAUSE NO.

     REGINA MORRISON              )(                             IN THE DISTRICT COURT OF
                                  X
     vs.                          )(                             HARRIS COUNTY. TEXAS
                                  X
     ALLSTATE VEHICLE AND PROPERTY)(
     INSURANCE COMPANY            )(                                     JUDICIAL DISTRICT

                             PLAINTIFFS ORIGINAL PETITION AND •
                                • REQUEST FOR DISCLOSURE

     TO THE HONORABLE JUDGE OF SAID COURT:

            COMES NOW, Plaintiff, REGINA MORRISON (hereinafter sometimes. referred to as

     "Plaintiff'), who files this original petition against defendant, ALLSTATE VEHICLE AND

     PROPERTY INSURANCE COMPANY (hereinafter sometimes referred to as "Defendant"), and

     for cause of action would show the following:

                                   A. DISCOVERY CONTROL PLAN

            1.      Plaintiffs intend for discovery to be conducted under Level 1 of Rule 190.2 of the

     Texas Rules of Civil Procedure and Plaintiff wishes to proceed with an Expedited Action.

            2.      Plaintiff seeks only monetary relief aggregating $100,000 or less, including

     damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees.

            3.      If this matter is removable pursuant to 28 U.S.C. Sections 1332(a) and 1441(b)

     then Plaintiff hereby stipulates that the amount in controversy does not exceed the sum or value

     of $75,000.00, exclusive of interest and cost. If this matter is not removable pursuant to 28

     U.S.C. Sections 1332(a) and 1441(b) then Plaintiff hereby stipulates that Plaintiff seeks only

     monetary relief aggregating $100,000 or less, including damages of any kind, penalties, costs,

     expenses, pre-judgment interest, and attorney fees.




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                                                  B. PARTIES

            4.       REGINA MORRLSON. Plaintiff, is a resident of Houston, Harris County, Texas.

             5.     ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY is a

     domestic/foreign insurance company licensed to do business in the State of Texas. with its

     principal place of business in Illinois. Service may be had on ALLSTATE VEHICLE AND

     PROPERTY INSURANCE COMPANY by serving its registered agent for service of process:

     CT Corporation System, 1999 Bryan Street, Suite 900. Dallas, Texas 75201-3136.

                                                C. JURISDICTION

             6.      This court has jurisdiction over the cause of action because the amount in

     controversy is within the jurisdictional limits of thc court.

             7.     The court has jurisdiction over the Defendant, ALLSTATE VEHICLE AND

     PROPERTY INSURANCE COMPANY because Defendant is licensed to do insurance business

     in the state of Texas; engages in the business of insurance in Texas; and the cause of action arises

     out of its business activities in Texas.

                                                   D. VENUE

             8.      Venue is proper in Harris County, Texas because:

                     a.     The property which was insured by Defendant, and which sustained
                            damages as a result of the covered cause of loss made the basis of this suit,
                            is located in Harris County, Texas;

                     b.     The damage to Plaintiff for which claim was made to Defendant for
                            insurance proceeds was incurred in Harris County, Texas as a result of a
                            covered cause of loss, which occurred in Harris County, Texas;

                     c.     Plaintiff makes claims of unfair claims handling practices and the claim
                            made the basis of the suit was adjusted by Defendant or its in-house or
                          • outside adjusters, who conducted claims-handling activities in Harris
                            County, Texas;




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                    d.      This case involves a breach of contract and deceptive trade practices
                            where the breach and deceptive acts occurred in Harris County, Texas;

                                                E. FACTS

            9.      Plaintiff is the owner of a Texas residential insurance policy issued by Defendant

     with Policy No. 836 841 755 (hereinafter sometimes referred to as "Policy") for the policy period

     of March 7, 2016 through March 7, 2017. Plaintiff owns the insured property located at 8806

     Donys Drive, Houston, Texas 77040, (hereinafter sometimes referred to as "Residence").

            10.     Defendant sold the Policy insuring the Residence for damages resulting from the

     covered cause of loss made the basis of this suit, including, without limitation, physical damage

     to the Residence, damage to personal property, damage to other structures, additional living

     expenses, code upgrades, temporary repairs, and debris removal, all of which are more

     particularly described in the Policy. Plaintiff paid all premiums when due and was issued the

     Policy, which was in full force and effect at the time that the damages were sustained as a result

     of a covered cause of loss, which occurred on April 17, 2016, (hereinafter sometimes referred to

     as "Covered Event").

            11.     As a result of the Covered Event, which occurred on April 17, 2016, Plaintiff

     suffered losses covered under the Policy. The Residence sustained severe damages, which

     required temporary and permanent repairs. Plaintiff continues to suffer damages which are

     covered under the Policy.

            12.    Plaintiff's loss came as a result of wind/hail and water damages, all of which are

     covered under the Policy.

        •   13.    Plaintiff promptly put Defendant on notice of the claim on.




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            14.     Defendant agreed to pay the claim and began paying the claim. However, in the

     middle of the claims handling process, Defendant retroactively denied the claim. There was no

     reasonable basis to deny the claim.

            15.     To this day, Plaintiff has been paid $7,842.77. The true cost of the damages to

     Plaintiff are $18,963.00.

            16.     Since Defendant has fully denied the claim, it is obvious that Defendant had all

     the information in its possession that it reasonably required to accept or reject the claim,

                                   F. CAUSES OF ACTION
                                         COUNT I
                             BREACH OF CONTRACT BY DEFENDANT

            17.     Paragraphs 1 through 16 arc incorporated by reference.

            18.     The conduct of Defendant, as described above, constitutes a breach of the

     insurance contract made between Defendant and Plaintiff.

            19.     Defendant's failure and refusal, as described above, to pay the adequate

     compensation as it is obligated to do under the terms of the Policy and under the laws of the

     State of Texas, constitutes material breaches of the insurance contract with Plaintiff.

     Defendant's breach of the contract proximately caused Plaintiff to suffer damages in the form of

     actual damages, consequential damages, along with reasonable and necessary attorney's fees.

     Plaintiff has complied with all obligations and conditions required of it under the insurance

     contract

                                     . COUNT II
                VIOLATIONS OF THE TEXAS INSURANCE CODE BY DEFENDANT

            20.     Paragraphs 1 through 19 are incorporated by reference.




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            21.     The conduct of Defendant, as described herein, constitutes multiple violations of

     the Texas Unfair Compensation and Unfair Practices Act. TEX. INS. CODE Chapter 541. All

     violations under this article are made actionable by TEX. INS. CODE Section 541.151.

            22.     Defendant's unfair practice, described above, of misrepresenting to Plaintiff

     material facts relating to the coverage at issue, constitutes an unfair method of competition and

     an unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE Sections

     541.051, 541.060 and 541.061.

            23.     Defendant's unfair settlement practice, as described above, of failing to attempt in

     good faith to effectuate a prompt, fair and equitable settlement of the claims even though its

     liability under the Policy was reasonably clear, constitutes an unfair method of competition and

     an unfair and deceptive act or practice in the business of insurance. TEX. INS. CODE Sections

     541.051, 541.060 and 541.061.

            24.     Defendant's unfair settlement practice, as described above, of failing to promptly

     provide Plaintiff with a reasonable explanation of the basis in the Policy, in relation to the facts

     or applicable law, for its offer of a compromise settlement of the claims, constitutes an unfair

     method of competition and an unfair and deceptive act or practice in the business of insurance.

     TEX. INS. CODE Sections 541.051,541.060 and 541.061.

            25.     Defendant's unfair settlement practice of retroactively denying the claim without

     any reasonable or just basis, constitutes an unfair method of competition and an unfair and

     deceptive act or practice in the business of insurance. TEX. INS. CODE Sections 541.001, et

     seq., including, without limitation 541.051, 541.060 and 541.061.

            26.     Defendant's unfair settlement practice, described above, refusing to pay

     Plaintiff's claims while failing to conduct a reasonable investigation, constitutes an unfair



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     method of competition, and unfair and deceptive act or practice in the business of insurance.

     TEX. INS. CODE Sections 541.001, et seq., including, without limitation, 541.051, 541.060 and

     541.061.

                                         COUNT III
                        THE FAILURE OF DEFENDANT TO COMPLY WTTH
                         TEXAS INSURANCE CODE CHAPTER 542: THE
                             PROMPT PAYMENT OF CLAIMS ACT

             27.     Paragraphs 1 through 26 are incorporated by reference.

            28.     Defendant's conduct constitutes multiple violations of the Texas Prompt Payment

     of Claims Ac:, TEX. INS. CODE Chapter 542. All violations made under this article are made

     actionable by TEX. INS. CODE Section 542.060.

             29.    Defendant's failure, described above, to commence investigation of the claims

     and request from Plaintiff all items, statements and forms that it reasonably believed would be

     required within the applicable time constraints, constitutes a non-payment of the claims. TEX.

     INS. CODE Section 542.055-542.060.

             30.     Defendant's refusal to pay Plaintiff's entire claim or delay of payment of

     Plaintiff's claim, described above, following its receipt of all items, statements and forms

     reasonably requested and required longer than the amount of time prescribed for, constitutes a

     non-prompt payment of the claims.. TEX. INS. CODE Sections 542.055-542.060.

                                      COUNT IV
                   BREACH OF DUTY OF GOOD FAITH AND FAIR DEALINGS
                                   BY DEFENDANT

             31.     Paragraphs 1 through 30 are incorporated by reference.

             32.     Defendant, as an insurer, is subject to the laws of the State of Texas and owed to

     Plaintiff the duty to deal with it fairly and in good faith.




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              33.     Defendant refused to pay a substantial portion of the property damage claim

      despite the fact that its liability was clear.

              34.     No reasonable insurer would have failed to fully pay this claim with the

      information available to Defendant at the time that it decided not to pay the full value of this

      claim. The conduct of Defendant constitutes a breach of the common law duty of good faith and

      fair dealing owed to insureds under insurance contracts. As described above, Defendant failed to

      adequately and reasonably investigate and evaluate Plaintiff's claim. while Defendant knew or

      should have known by the exercise of reasonable diligence that its liability is reasonably clear,

      all of which constitutes a breach of the duty of good faith and fair dealing:

              35.     The refusal to fully adjust and pay this claim in violation of the duties of good

      faith and fair dealing, proximately caused Plaintiff to suffer independent damages including

      economic damage and emotional distress caused by the denial. Defendant is liable to Plaintiff

      for extra contractual damages for Plaintiff's separate injury and independent damages in a sum in

      excess of the minimum jurisdictional limits of the court.

                                       G. KNOWLEDGE AND INTENT

              36.     Paragraphs 1 through 35 are incorporated by reference.

              37.     Each of the acts described above, together and singularly, was done "knowingly"

      and "intentionally" with conscious indifference to the harm which would result to Plaintiff and

      was a producing cause of Plaintiff's damages described herein.

                 H. VIOLATION OF TEXAS DECEPTIVE TRADE PRACTICES ACT

              38.     Paragraphs 1 through 37 are incorporated by reference.

              39.     Plaintiff purchased the Policy in question from the Defendant and is 'a "consumer"

      as that term is defined under the Texas Deceptive Trade Practices Act. Plaintiff has been



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      damaged by Defendant's conduct, described above, which constitutes a deceptive or unfair

      insurance practice as that term is defined under the Texas Insurance Code.

                40.   Each of the acts described above, together and singularly, constitute a violation of

      the Texas Deceptive Trade Practices Act pursuant to its tie-in provision for Insurance Code

      Violations. Accordingly, Plaintiff also brings each and every cause of action alleged above

      under the Texas Deceptive Trade Practices Act pursuant to its tie-in provision.

                41.   Defendant has violated the Texas Deceptive Trade Practices Act in the following

      non-exclusive manners:

                      a.     Defendant misrepresented to the claimant-insured a material fact or policy
                             provision relating to coverage at issue;

                      b.     Defendant failed to attempt in good faith to effectuate a prompt, fair and
                             equitable settlement of the claim with respect to which the insurer's
                             liability has become reasonably clear;

                      c.     Defendant refused to pay the claim without a reasonable investigation on
                             its part with respect to the claim.

                42.   As a result of Defendant's violations of DTPA, Plaintiff suffered actual damages.

      Because Defendant committed the acts knowingly and intentionally, with conscious indifference

      to the harm caused to the insured, Plaintiff is entitled to three times its damages for economic

      relief.

                                     I. REDDEST FOR DISCLOSURE

                43.   Paragraphs 1 through 42 are incorporated by reference.

                44.   Pursuant to TRCP Rule 194, PLAINTIFF requests that defendants disclose the

      materials described in TRCP Rule 194.2.

                                       J. DAMAGES AND PRAYER

                45.   Paragraphs 1 through 44 are incorporated by reference.



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            46.     The conduct of Defendant, as described herein, was a producing cause of

     Plaintiffs economic damages. As a result, Plaintiff suffered economic damage and expenses for

     which Defendant is liable.

            47.     As a direct result of Defendant's knowing misconduct, Plaintiff suffered

     additional damages. Accordingly, Defendant is liable to Plaintiff for economic damages and

     additional damages of up to three times economic as pemiitted by the Texas Insurance Code and

     the Texas Deceptive Trade Practices Consumer Protection Act.

            48.     WHEREFORE, PREMISES CONSIDERED, Plaintiff herein prays that

     Defendant be cited to appear and answer, and that on a final trial on the merits. Plaintiff recover

     from Defendant damages for all causes of action described above, extra contractual damages as

     allowed by law and the causes of action described above, attorney fees, costs of court, and all

     interest allowed by statute and common law and for such other further relief to which Plaintiff

     may be entitled, both in equity and at law.

                                                   Respectfully submitted,

                                                   MERLIN LAW GROUP
                                                   515 Post Oak Blvd, Suite 750
                                                   Houston, Texas 77027
                                                   Telephone: (713) 626-8880
                                                   Facsimile: (713) 626-8881


                                                   By:    /s/ Patrick C. McGinnis •
                                                          Patrick Connell McGinnis
                                                          State Bar No. 13631900
                                                          pmcginnis@merlinlawgrouo.com


                                                          ATTORNEYS FOR PLAINTIFF




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                                           JURY DEMAND

          Plaintiff respectfully demands a trial by jury.



                                                 /s/ Patrick C. McGinnis
                                                 Patrick Connell McGinnis
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                                                                                  Chris Daniel - District Clerk Harris County
                                                                                                    Envelope No. 12041628
                                                                                                   By: Shaniece Richardson
                                                                                               Filed: 8/8/2016 11:45:47 AM

                                     CAUSE NO. 2016-45523

REGINA MORRISON,                                  §                IN THE DISTRICT COURT OF
                                                  §
        Plaintiff,                                §
                                                  §
v.                                                §                    HARRIS COUNTY, TEXAS
                                                  §
ALLSTATE VEHICLE AND PROPERTY                     §
INSURANCE COMPANY,                                §
                                                  §
        Defendant.                                §                  333RD JUDICIAL DISTRICT

                     DEFENDANT ALLSTATE VEHICLE AND PROPERTY
                       INSURANCE COMPANY’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Allstate Vehicle and Property Insurance Company (“Defendant”), and files

this, its Original Answer to Plaintiff’s Original Petition, and would respectfully show unto the Court

the following:

                                             I.
                                      ORIGINAL ANSWER

        Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant generally denies each

and every, all and singular, the allegations contained within Plaintiff’s Original Petition, and

demands strict proof thereon by a preponderance of the credible evidence in accordance with the

Constitution and laws of the State of Texas.

                                           II.
                                  DEMAND FOR JURY TRIAL

        Defendant herein makes demand for a jury trial in this case, and will tender the applicable

fees thereon.




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                                                III.
                                              PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant Allstate Vehicle and Property

Insurance Company prays that upon final trial and hearing hereof, Plaintiff recovers nothing from

Defendant, but Defendant goes hence without delay and recovers costs of court and other such

further relief, both general and special, to which Defendant may be justly entitled.

                                               Respectfully submitted,

                                                 /s/Jay Scott Simon
                                               Jay Scott Simon
                                               State Bar No. 24008040
                                               jsimon@thompsoncoe.com
                                               THOMPSON, COE, COUSINS & IRONS, L.L.P.
                                               One Riverway, Suite 1400
                                               Houston, Texas 77056
                                               Telephone: (713) 403-8216
                                               Telecopy: (713) 403-8299

                                               ATTORNEY FOR DEFENDANT
                                               ALLSTATE VEHICLE AND PROPERTY
                                               INSURANCE COMPANY


                                  CERTIFICATE OF SERVICE

        This is to certify that on August 8, 2016, a true and correct copy of the foregoing was
delivered to the following counsel for Plaintiffs by electronic service:

        Patrick C. McGinnis
        MERLIN LAW GROUP
        515 Post Oak Blvd., Suite 750
        Houston, Texas 77027

                                                 /s/Jay Scott Simon
                                               Jay Scott Simon




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